Case 2:99-Cr-20162-BBD Document 52 Filed 07/07/05 Page 1 of 2 Page|D 58

 

IN THE UNITED sTATEs DISTRICT CoURT m BY 1191 °-‘-`~
FOR THE wEsTERN DISTRICT oF TENNESSSSSEE
wEsTERN DIVISIoN 05 JUL '7 PH 3‘ 117
THOMPS M, GO.\&M
UNITEI) sTATEs 0F AMERICA, 115959|CT .
. . W OF 1?‘¢. -£EW~HS
PlamtliT,
l)ocket No. 2:99-20162-D
V.
QUEENESTER owENs,
Defendant.

 

ORDER

 

IT IS HEREBY ORDERED, ADJUGED AND DECREED that Ms. Eu;reka M.
Ha.rwel] will be brought by the U.S. Marshall to the United States District Court, Westem
District of Tennessee, 242 Cljji`ord Davis Federal Building, 167 North Main Street,
Memphis, Tennessee 38103, Cou.rt Room Three the morning of July 27, 2005 for the

above referenced cause’s Hearing.

    

.S. Distri t court Judge

This the /Y’Gay o , 2005.

ThIs document entered on the docket sh a n g z ‘- i' °E
with Fiu|e 55 and/or 32(b) FHCrP on o 3

   

UNITED sTATE DISTRICT COURT - W"'RNT DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

